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 7
 8                               UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10                                      SOUTHERN DIVISION
11 CHRISTOPHER D. RAY, SR.,                            Case No.
12                      Plaintiff,                     NOTICE OF REMOVAL OF
                                                       ACTION UNDER 28 U.S.C. § 1441(a)
13            v.
                                                       State Court Complaint filed 06/18/15
14 MIDLAND CREDIT MANAGEMENT
   INC.,
15
           Defendants.
16
17            TO THE CLERK OF THE COURT:
18            PLEASE TAKE NOTICE that pursuant to 28 U.S.C. sections 1441(a) and
19 1331, Defendant Midland Credit Management, Inc. (“Defendant”) hereby removes
20 this action from the Superior Court of the State of California for the County of
21 Orange, Case No. 30-2015-00793987-SC-SC-NJC (the “State Case”) to the United
22 States District Court for the Central District of California, Southern Division. The
23 grounds for this removal are:
24            FACTUAL SUMMARY
25            1.        On June 18, 2015, plaintiff Christopher D. Ray, Sr. commenced the
26 State Case alleging violations of the federal Fair Debt Collection Practices Act (15
27 U.S.C. § 1692 et seq.), the Fair Credit Reporting Act (15 U.S.C § 1681 et seq.), the
28 Consumer Credit Reporting Agencies Act (Cal. Civ. Code § 1785 et seq.) and the
     P:00973092:87025.147                           -1-
                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(a)
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 1 Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code § 1788 et seq.).
 2            2.        Plaintiff has not performed proper service of the complaint. This notice
 3 is therefore timely pursuant to 28 U.S.C. § 1446(b) because the thirty-day deadline
 4 to remove has not yet commenced.
 5            JURISDICTION
 6            3.        Removal is proper pursuant to 28 U.S.C. section 1441(a), which
 7 entitles a defendant to remove “any civil action brought in a State court of which the
 8 district courts of the United States have original jurisdiction,” and 28 U.S.C. section
 9 1331, which gives district courts “original jurisdiction of all civil actions arising
10 under the Constitution, laws, or treaties of the United States.” The district court has
11 supplemental jurisdiction over the alleged state law claims because they are so
12 related to the claims over which the district court has original jurisdiction that they
13 “form part of the same case or controversy.” 28 U.S.C. § 1367(a).
14            4.        Pursuant to 28 U.S.C. section 1446(a), Midland attaches as Exhibit 1 a
15 copy of all process, pleadings, and orders in the State Court action.
16
17 DATED: July 17, 2015                         SOLOMON WARD SEIDENWURM &
                                                SMITH, LLP
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19
20                                              By: s/Leah S. Strickland
21                                                  THOMAS F. LANDERS
                                                    LEAH S. STRICKLAND
22
                                                    Attorneys for Defendant
23                                                  MIDLAND CREDIT MANAGEMENT,
                                                    INC.
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